 8:04-cr-00338-BCB-SMB            Doc # 27    Filed: 09/16/05   Page 1 of 1 - Page ID # 43




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )
              v.                              )                   8:04CR338
                                              )
MICHAEL J. HALL,                              )                 TRIAL ORDER
                                              )
                     Defendant.               )
                                              )


       IT IS ORDERED:

       1. The above-entitled case is scheduled for a jury trial before the Honorable Laurie
Smith Camp, District Court Judge, to begin Tuesday, October 4, 2005 at 9:00 a.m. in
Courtroom No. 2, Third Floor, Roman L. Hruska United States Courthouse, 111 South 18th
Plaza, Omaha, Nebraska; because this is a criminal case, defendant must be present in
person. Counsel will receive more specific information regarding the order of trial from
Judge Smith Camp’s courtroom deputy, Edward Champion.

        2. Any motions for a continuance of this trial date shall be electronically filed on or
before September 26, 2005 and shall (a) set forth the reasons why the moving party believes
that the additional time should be allowed and (b) justify the additional time, citing specific
references to the appropriate section(s) of the Speedy Trial Act, 18 U.S.C. § 3161 et seq.
Any defense motion for continuance shall be accompanied by a written affidavit signed by
the defendant in accordance with NECrimR 12.1.

        3. Counsel for the United States shall confer with defense counsel and electronically
file a status report no later than September 29, 2005 advising the court of the anticipated
length of trial.

       DATED September 15, 2005.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
